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    FILED
AO 91(Rev. 1U11) Criminal Complaint                      AUSA Tobara S. Richardson 312) 469-6305
                         y/         UNITED STATES DISTRICT COURT
       THOMASG. BRUTON
                                    NORTHERN DISTRICT OF ILLINOIS
  CLERK U.S. D|STRTCT COURT                  EASTERN DIVISION

UNITED STATES OF AMERICA

                         v.
                                                          .A*J#pR 495
                                                                       IIAGISIRATE JUDGE VALEEA
TVAN PARKER

                                          CRIMINAL COMPI,AII{T

        I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
On or about JuIy       27   , 20L8, at Chicago, in the Northern District of Illinois, Eastern Division, the
defendant(s) violated:
     Code Section                                      Offeruse   Description
     Title 18, United States Code, Section             by committing      "robbery," which obstructed,
     1951(a)                                           delayed, and affected "commerce' and the
                                                       movement of articles and commodities in
                                                       commerce, as defined in fitle 18, United States
                                                       Code, Section 1951, and ssynmitted and
                                                       threatened physical violence to a person and
                                                       property in furtherance of a plan, in violation of
                                                       Title 18, United States Code, Section 1951;

     This criminal complaint is based upon these facts:  *ru
      X   Continued on the attached         .h;;;.
                                                            Special Agent, Federal Bureau of Inrtestigation
                                                                                                 l
                                                            (FBI)                               i
                                                                                                    I
Sworn to before me and signed in my presence.

Date: Auzust 13.2018


City and state: Chicaeo. Illinois                        MARIA VALDEZ. U.S. Maeistrate Judge
                                                                           Printed name and Title
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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

                                        AFFIDAVIT

         I, DUSTIN T. GOURLEY, being duly sworn, state as follows:

         1.      f am a Special Agent with the Federal Bureau     of Investigation.   I have
been so employed since approximately 20L2. As part of my duties as an FBI Special

Agent,   I investigate criminal violations relating to violent   crimes, including, among

others, kidnaping, bank robbery, ar:rned robberies of commercial institutions, and

the apprehension of violent fugitives.

         2.      This affidavit is submitted in support of a criminal complaint alleging

that Ivan Parker has violated Title 18, United States Code, Section               1951(a).

Because       this affidavit is being submitted for the limited purpose of establishing
probable cause       in support of a criminal complaint charging IVAN PARKER with
interfering with interstate commerce by robbery, I have not included each and every

fact known to me concerning this investigation. I have set forth only the facts that       I
believe are necessary to establish probable cause to believe that the defendant

committed the offense alleged in the complaint.

         3.      The statements in this affidavit are based on my personal knowledge,

on infomation        I   have received from other law enforcement personnel and from

persons       with   knowledge regarding relevant facts, intenriews,      my review of
surveillance images, and my experience and training as an FBI Special Agent.
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                          July 27, 2018 Robbery of Victim A

      4.      On July 27, 20t8, at approximately 6:59 a.m., an armed guard/ATM

technician employed by Loomis Armored U'S' ('Victim A1') was robbed at gunpoint

by an unknown black male while servicing a Chase Bank ATM, located at 3856

West 26th Street, Chicago, Illinois.    I   am aware that Loomis Armored U.S. is an

international business a variety of security services including ar:rrored truck

transport and cash processing and operates in multiple states, inchlfing Illinois.

      5.     The FBI interviewed Victim A, who reported that he began work at

approximately 5:20 a.m., which entailed picking up the amored vehicle along with

a second employee, the driver. The armored vehicle was equipped with surveillance

cameras. Victim      A advised that the first stop of the day was to senrice the Chase

Bank on West 26ih Street. Victim A stated that the Chase Bank location had been

serviced three times that week alread.y, and July 27,20L8 would be the fourth time.

The ATM vestibule inside the bank was equipped with video surveillance cameras.

      6.     Victim A recalled ariving at the Chase Bank at approximately 6:50

8.o., when he exited the arrnored vehicle and approached the vestibule within the

Chase Bank where the ATM was located. Victim         A explained that the Chase Bank

was still closed, but access to the vestibule could be gained by scanning a
credit/debit card.

       7.    Victim A gained access to the vestibule and viewed multiple customers

inside the vestibule. Victim A recalled that one of the customers was a black male,

approximately mid to late 2Oslearly 30s, approximately 6'0 - 6'2, thin build, wearing
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a black baseball hat, black sunglasses, black jacket, black or camouflage pants, no

gloves, and black gym shoes. Law enforcement later identified this person as

PARKER. Victim A recalled that PARKER was at an ATM machine, which was

located on the south side of the vestibule. Victim A explained that PARKER was

utilizing a card at the ATM, but the ATM machine was making an error noise.

      8.     Victim     A began servicing a machine, which was located on the
northwest side of the vestibule. As part of his work, Victim A had with him a black

bag that contained United States Curency. Once Victim        A and PARKER        rYere

alone, PARKER approached Victim A. Victim A recalled PARKER stated words to

the effect of   "I   don't want to hurt you, but," while pointing a black/dark blue

handgun to Victim A's head. Victim A recalled attempting to push the gun away,

and a physical struggle ensued. Victim A explained that PARKER used pepper

spray on Victim A. PARKER then grabbed the black bag containing United States

currency and departed the vestibule. According to Victim A, PARKER ran north

bound on Springfield, then west bound in an alley.

      9.     Documents obtained from Loomis and Chase Bank show that the loss

to the victim was approximately $106,335.

      10.    Surveillance video from the amored vehicle depict PARKER running

north bound on Springfield Avenue, and then westbound in the alley. A still image

from the surveillance video included the following:




                                           3
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      11.   The FBI obtained numerous pieces of video surveillance footage from

businesses and residents which depict PARKER       in fact in an alley parallel to 26th

Street, and later riding a bicycle towards Pulaski, and later on 25th Place. More

footage showed PARKER on a bicycle near Ogden and Keeler, and eventually in the

area of West Cermak.

      L2.   Video footage depicted PARKER as he dismounted the bicycle and left

it near a dumpster in the vicinity of an alley west of Kildare and north of Ogden.
PARKER threw a black bag over a fence, and then jumped over the fence. PARKER

picked up the bag and departed from view.

      13.   Stirveillance footage from      a   location on West Cermak depicted

PARKER walking towards        an apartment building, wearing jeans, a            white

undershirt, black jacket, and carrS.ing     a black object in his left hand. The
surveillance footage depicted PARKER entering an apartment building located at

4246 West Cermak Road; Chicago,   Illinois at approximately 7:17 a.m.
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                         Identification of fVAIt[ PAR,KER
       t4.   Based on witness interviews, FBI learned    that the exterior door to
4246 West Cermak provides access    to all of the apartments located at   4244   *   4250

West Cermak Road. The FBI interviewed Witness F, who was familiar with the

residents living within the apartment complex. FBI showed Witness F a still image

of video footage obtained during the investigation, and Witness F stated that the

person depicted resembled IVAN PARKER. Additionally, law enforcement obtained

a   copy of PARI(ER's state identification, and law enforcement learned that

PARKER lives at 4244West Cemak, Unit 2ER

       15. I   have viewed known photographs of PARI(ER who matches the

general physical attributes of the person who robbed Victim A. More specifically, a

booking photograph of PARKER taken as part of an amest on June L6, 2017 , shows

a tattoo on his right neck area. The location of the tattoo is consistent with the

location of a bandage on PARKER's neck during the robbery. Below is a comparison

of the still image from the Chase Bank surveillance footage with a           booking

photograph of PARI(ER:
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                           Photo Array with Victim A

       16.    On August   8,   20L8,   a sequential photographic array was conducted

with Victim A. Victim A identified the photograph that depicted PARKER, but
Victim A stated that he was not    LOOVo   sure in his selection.

         Search lYarrant at 4244 \Mest Cemak. Unit 2ER, Chicago.Illinois

       L7.    On August 10, 2018, the United States District Court for the Northern

District of Illinois issued a search wanant for 4244 West Cermak, Unit           2ER,

Chicago, Illinois.

       18.    During the execution of the search wanrant, Iaw enforcement found a

number of items including: (a) a total of approximately $7,010 in cash; (b) bank

debit cards, including turo Chase Bank cards; (c) a small canister of pepper spray

and an unopened canister of pepper spray; and (d) items ofjewelry purchased from

Kay Jewelers including receipts.
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                                      Conclusion

         19.   Based on the foregoing facts,    I   respectfully submit that there is

probable cause to believe that, on or about J:u/ry 27, 20L8, IVAN PARI(ER, by

committing a "robbery," which obstructed, delayed, and affected "commerce" and the

movement of articles and commodities      in commerce,   as defined   in Title   18, United

States Code, Section 1951,      in that the defendant,     comniitted and threatened

physical violence to a person and property in furtherance of a plan, in violation of

fitle   18, United States Code, Section 1951.




                                                                                         of



                                         me on August 13, 2018.


MARIAVALDEZ
United States Magistrate J
